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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                            )
                                                     )
        Plaintiff,                                   )
                                                     )
      vs.                                            )       Case No. 00-cr-40101-JPG
                                                     )
TYREE NEAL,                                          )
                                                     )
        Defendant.                                   )

                                                ORDER

        This matter comes before the Court on Defendant Tyree Neal’s Amended Motion for

Reduction of Sentence (Doc. 500) pursuant to 18 U.S.C. § 3582.

        For reasons discussed during the hearing of December 6, 2010, the Court GRANTS the

instant motion (Doc. 500). Accordingly, Neal’s total offense shall be reduced from 28 to 26

(alongside a criminal history category of IV), thereby creating a United States Sentencing Guidelines

range of 92-115 months imprisonment.

        Being fully advised of the premises, especially Neal’s projected release date of January 21,

2011, Federal Bureau of Prisons’ Inmate Locator, http://www.bop.gov/iloc2/LocateInmate.jsp (last

visited Dec. 6, 2010), the Court holds that Neal has fully served his term of imprisonment on Counts 1

and 13 of the Third Superseding Indictment (Doc. 158). Further, Neal’s service of his three-year term

of supervised release shall begin immediately upon his registration with the United States Probation

Office for the Southern District of Illinois. As the Court mentioned at the motion to reduce hearing, if

Neal fully abides by the conditions of his term of supervised release, he may petition for its early

termination two years after registration.

IT IS SO ORDERED.
DATED: December 7, 2010
                                                                         s/ J. Phil Gilbert
                                                                         J. PHIL GILBERT
                                                                         DISTRICT JUDGE
